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Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-                USAO_NORDEAN (21-CR-175)_00000133
8138281883108468013/postbox/db/db_sqlite : 0x27059904 (Size: 873086976 bytes)
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